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AO I Y9A [Rev l Z l l I) Order Seltlng Candniionr of Rclcsec                                                  Page I of   .jPages



                                         UNITEDSTATESDISTRICTCOURT
                                                                         for the
                                                               Eastern District of California


                      United States of America
                                                                             )
                                 v.
                                                                             )
                                                                             )        Case No. 1:12-cr-00301 AWI DL0
                    WILLIE SHERMAN PRUDE                                     )
                                                                      -

                                 Defendant                                   )
                                           ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)    The defendant must not violate federal, state, or local law while on release

(2) The defendant must cooperate in thc collection of a DNA sample if it is authorized by 42 U.S.C. 9 14135a

(3)    The defendant must advise the court or the pretrial services office or supcrvising officer in writing before making
       any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

       The defendant must appear at:                   United States District Coud, 2500 Tulare Street, Fresno, CA 93721      -~.-
                                                                                                Plrrce

       -
        COURTROOM 9 - Magistrate Judge Beck
                 ~          p         ~
                                                                                                                                    ..-.


        on                                                              9/24/2012 1 :00 prn
                                                                            Dale and Time


        If blank, defendant will be notified of next appearance.

(5)     The defendant must sign an Appearance Bond, if ordered
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PRUDE, Willie Sherman
Dkt. NO.12-00301

                                                 ADDITIONAL CONDITIONS OF RELEASE

          U p o n f i n d i n g t h a t release b y o n e o f t h e a b o v e m e t h o d s w i l l n o t b y itself reasonably assure t h e a p p e a r a n c e o f thedefendant
a n d the safety o f o t h e r persons a n d the community,it i s FURTHERORDEREDt h a t the release of thedefendant is subject t o the
conditions m a r k e d below:

()         (7)         T h e defendant i s placed in the custody of:

                       N a m e of person o r organization



w h o agrees (a) to supervise t h e defendant in accordance with a l l conditions of release,
(b) t o use every effort t o assure the appearance o f the defendant a t a l l scheduled c o u r t proceedings, a n d (c) t o n o t i f y t h e c o u r t
i m m e d i a t e l y in the evcnt the defendant violates a n y conditions of release o r disappears.


                       SIGNED:
                                               C U S T O D I A N OR P R O X Y

)          (8)         The defendant shall:
           ( )         (a)     maintain or actively seek employment, and provide proof thereof to the PSO, upon request.
              .
           1, \        .
                       (bl,    maintain or commence an educational oroeram.
                                                   ~       ~~      ~       ~   ~

                                                                                     L
                                                                                     -



           (X)         (c)     abide b) the followine restrictions on his personal associations, place o f abode, or tratel:
                               Reside at a residence a p ~ r o v e dby the PSO, and not move o r be absent from this residence for more than 24 hrs.
                               without prior approtal o f PSO: t r a t e l restricted to the Eastern and Central Districts o f CA, unless otherwise
                               approved in advanee b v PSO.
           (X)         (d)     not associate or have any eontaet with w-defendants Stacey Kinyada Lee and Cheanev Lavell Key. unless i n the
                               presenee ofeounsel or otherwise approved i n advanee by the PSO.
           . .
           (X)         . .
                       (e)                             -
                               reoort on a reeular basis to the followine-aeencv:      - ,
                               Pretrial Serbico and complv with their rules and reeulations.
           t J         10      c ~ ~ m pwl )~ t hthe f o l l o u ~ n gcurfeu
           ( )         (el     refrain from oosscssine a firearm. destructive device. or other daneerous weaoon
           6)          (h)     refrain from excessib; use o f alcohol, and anv use or unlawfuioossessionof A narcotic drue and other controlled
                               substancesdetined in 21 USC 6802 unlessprescribed by a licensed med~calpractitioner.Howrver.mzdicolmriiuono,
                               prrscrihrd o r nor, mrrv nor h r u s r d
                               ~ndergo   meaical or psychiatric tre3tment andor rema:n in I n institution. x i o l l o u s l n c l ~ a t n gtredtmcnt for drug alcohol
                               dependency, and             payfor costs as approved by the PSO.
                               executed a bond or a n agrcement to forfeit upon failing to appear or failure to abide by any o f the conditions ofrelease,
                               the following sum o f money or designated property:
                               post with the court the following indicia or ownership o f the above-deseribed property, or the following amount or
                               percentage o f the above-describedmoney:
                               execute a bail bond with solvent sureties in the amount o f $
                               return to custody each (week)day as of o'clock aftcr being released each (week)day as of o'cloek for employment,
                               schooling, or the following limited purpose(s):
                               surrender any passport to the Clerk, United States District Court, prior to your rclcasc from custody.
                               obtain no DassDort durine the pendeney o f t h i s ease.
                               you shall submitto d r u e o r alcohol testineas a ~ ~ r o v by  e dthePretrialServicesOliicer. You shall pay all or part o f
                               the costs ofthe testine sewiees based upon your abilitv to vav, as determined by the Pretrial Serviees Ollicer.
                               reDort any prescri~tionsto the PSO within 48 hours o f receipt.
                               report i n person to the Pretrial Serviees Aeenev on the first workine day followinevour release from custody.


(Copies to: Defendant, US Attorney, US Marshal, Pretrial Services)
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ADVICE OF PENALTIES AND SANCTIONS

          Violation of any ofthe foregoing conditions ofrelease may result in the immediateissuance of a warrant for the defendant'sarrest,
a revocation of release, an order of detention, as provided in I8 USC $3 148, and a prosecution for contempt as provided in 18 USC $401
which could result in a possible term of imprisonment and/or a fine.
          The commission of any offense while on pretrial release may result in an additional sentence upon conviction for such offense
to a term of imprisonment of not less than two years nor more than ten years, iflhe offense is a felony; or a term of imprisonment of not
less than ninety days nor more than ninety days or more than one year, if the offense is a misdemeanor. This sentence shall be consecutive
to any other sentence and must be imposed in addition to the sentence received for the offense itself.
          I 8 USC $1503 makes it a criminal offense punishable by upto five years in jail and a $250,000 fine to intimidate or attempt to
intimidate a witness, juror or officer of the court; 18 USC $15 10 makes it a criminal offense punishable by up to five years in jail and a
$250,000 fine to obstruct a criminal investigation; 18 USC $ 15 12 makes it a criminal offense punishable by up to ten years in prison and
a $250,000 fine to tamper with a witness, victim or informant; and 18 USC $1513 makes it a criminal offense punishable by up to ten years
in jail and a $250,00 fine to retaliate against a wimess, victim or informant, or threaten or attempt to do so.
          It is a criminal offense under 18 USC $3146, if after having been released, the defendant knowingly fails to appear as required
by the conditions of release, or to surrender for the service of sentence pursuant to a court order. If the defendant was released in
connection with a charge of, or while awaiting sentence, surrenderfor the service of a sentence, or appeal or certiorari after conviction,
for;
          (I)        an offense punishable by death, life imprisonment, or imprisonment for a term of fiftcen years or more, the defendant
                     shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
          (2)        an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, the defendant shall
                     be fmed not more than $250,000 or imprisoned for not ore than five years, or both;
          (3)        any other felony, the defendant shall be fined not more than $250,000 or imprisoned not more than two years, or both;
          (4)        a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more than one year, or both.

         A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of imprisonment for any
other offense. In addition, a failure to appear may result in the forfeiture of any bail posted.

                                            ACKNOWLEDGMENT OF DEPENDANT
          I acknowledgethat I am the defendant in this case and that I am aware oftheconditionsofrelease. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth
above



Signature of Defendant   xu&                             &
Address                             .   .


City and State       ,

Telephone Number

                                           DIRECTIONS TO UNITED STATES MARSHAL
          The defendant is ORDERED released after processing.
( )       The United States Marshal is ORDERED to keep the defendant in custody until notified by the Clerk of ludicial Officer that the
          defendant has posted bond and/or complied with all other conditions for release. The defendant shall be produced before the
          appropriate Judicial Officer at the time and place specified, if still in custody.
           ~~    ~




DATE:       q 15 )1 2                Judicial Officer:
